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IN THE UNITED STATES DISGRICT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

DAVID BENT CASE NO; 3:11-cv-00066-J-TEM
Plaintiff,

V. .
SMITH, DEAN & ASSOCIATES, INC.,

And

GORDAN RAY SEVIGNY,
Defendants.

 

GORDAN RAY SEVIGNY,
Cross-Plaintiff
Vv.

SMITH, DEAN & ASSOCIATES, INC.,
Cross-Defendants
/

 

PLAINTIFF DAVID BENT’S NOTICE OF DISMISSAL OF WITH PREJUDICE OF
CLAIMS AGAINST DEFENDANT GORDAN RAY SEVIGNY

Plaintiff, DAVID BENT, by and through undersigned counsel, hereby files his Notice of
Voluntary Dismissal with Prejudice of his claims filed against GORDAN RAY SEVIGNY in the
above-styled cause. Both Plaintiff and Defendant Bent have agreed to be responsible for their

own attorney’s fees and costs as it relates to the action against one another in this case.
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CERTIFICATE OF SERVICE

I hereby certify that I furnished a true and correct copy of the above and foregoing by
regular U.S. Mail on August U , 2011 to: TRACY HENRY, Esquire, Attorney for Smith,
Dean & Associates, Anderson & Pinkard, 135 Feather Sound Drive, #670. Clearwater FL 33762
and ANNA ABBOTT, Esquire Attorney for GORDAN RAY SEVIGNY, 1309-105 St. Johns
Bluff Road North, Jacksonville FL 32225

ee & RATHET, P.A.

JEREMY wa IE
Fla. Bar No/0 o19
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